                                                                                 THIS ORDER IS APPROVED.


                                                                                 Dated: December 29, 2015


                   1            William R. Richardson (009278)
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                                                                                 Brenda Moody Whinery, Bankruptcy Judge
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                   6
                                            IN THE UNITED STATES BANKRUPTCY COURT
                   7
                                                       FOR THE DISTRICT OF ARIZONA
                   8
                   9    In re:                                                         Chapter 11
                        DANA LEE DUNCAN and DENISE
              10        MARGARET DUNCAN,                                          2:11-bk-16577-BMW

              11                                           Debtors.        DISCHARGE OF INDIVIDUAL
                                                                         DEBTORS IN A CHAPTER 11 CASE
              12
              13                 The Debtors having filed a Motion for the Entry of an Order of Discharge (Dkt

              14 #204), it appearing that proper service has been made upon creditors and interested
              15 parties, and it appearing that the Debtors are entitled to a discharge, and good cause
              16 appearing,
              17                 IT IS HEREBY ORDERED that this case shall be deemed reopened sufficient

              18 to accommodate the following orders.
              19                 IT IS HEREBY ORDERED that because the Debtors have satisfied their

              20 obligations to creditors under the Plan, the Debtors are hereby granted a discharge under
              21 11 U.S.C. § 1141(d).
              22                 IT IS HEREBY ORDERED that with respect to the obligations to Class 4A

              23 through 4D (“Secured Creditors”), the Debtors’ obligations are likewise discharged,
              24 provided however, that the Secured Creditors’ liens remain to the extent of their allowed
              25 secured claims.
              26                 IT IS HEREBY FURTHER ORDERED that all other liens not specifically

              27 preserved by this discharge order are extinguished.
              28

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                   1          IT IS HEREBY ORDERED that the filing fee for reopening this case is waived and
                   2 no fees will be generated by the United States Trustee’s Office in connection with the
                   3 reopening and closing of this case.
                   4          IT IS FURTHER ORDERED that this case is hereby closed upon entry of this
                   5 order.
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                   7                             SIGNED AND DATED AS INDICATED ON PAGE 1.
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